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                        UNITED STATES DISTRICT COURT
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                                EASTERN DISTRICT OF CALIFORNIA
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10   MAURICIO VELASQUEZ,                               Case No. 1:18-cv-00364-AWI-SAB

11                 Plaintiff,                          ORDER DENYING DEFENDANTS’
                                                       SUBSTITUTION OF ATTORNEY
12          v.
                                                       (ECF No. 10)
13   CONSTELLATION BRANDS US
     OPERATIONS, INC., et al.
14
                   Defendants.
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16          On May 16, 2018, Defendants Constellation Brands U.S. Operations, Inc. and

17 Constellation Brands, Inc. filed a substitution of attorney form substituting Jackson Lewis P.C.

18 for Kaufman Dolowich & Voluck LLP. (ECF No. 10.) However, appearances as an attorney of

19 record shall not be made in the name of a law firm. See Local Rule 182(b). It appears that
20 Defendants are trying to update the address of their counsel, Kathleen Hurly. The Court notes

21 that Ms. Hurly’s address has already been updated on the docket. Accordingly, it is HEREBY

22 ORDERED that Defendants’ substitution of attorney is denied.

23
     IT IS SO ORDERED.
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25 Dated:     May 17, 2018
                                                       UNITED STATES MAGISTRATE JUDGE
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